                   Case 2:17-cr-00201-LMA-DMD Document 1497 Filed 09/29/21 Page 1 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                          Eastern District of Louisiana
                                                                            )
               UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                              v.                                            )
                    LILBEAR GEORGE                                          )
                        a/k/a "Bear"                                        )       Case Number:           17cr201 "I"
                    a/k/a "Allen Santee"                                    )       USM Number:            36655-034
                                                                            )
                                                                            )       Bruce G. Whittaker
                                                                            )       Defendant’s Attorney
THE DEFENDANT:
T pleaded guilty to count            3 of the Second Superseding Indictment on May 25, 2021.
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on counts
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                         Nature of Offense                                                                                  Count
18 U.S.C. § 924(c), 924(j)(1)           Use, carry, brandish, and discharge of a firearm during and in relation to crimes of                 3
and 2                                   violence causing death.



       The defendant is sentenced as provided in pages 2 through                7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
               the original indictment, the superseding
T Count(s) indictment, and counts 1, 2, and 4 of the G is            T are dismissed on the motion of the United States, as to this defendant.
              second superseding indictment

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         September 29, 2021
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                         Lance M. Africk, United States District Judge
                                                                         Name and Title of Judge


                                                                         September 29, 2021
                                                                         Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 — Imprisonment

                                                                                                   Judgment — Page      2       of   7
 DEFENDANT:                    LILBEAR GEORGE a/k/a "Bear" a/k/a "Allen Santee"
 CASE NUMBER:                  17cr201 "I"

                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 480 months. This sentencing shall be served concurrently to the term of imprisonment the defendant is serving under
 Docket No. 2:16cr29, U.S. District Court, Eastern District of Louisiana.


      G The court makes the following recommendations to the Bureau of Prisons:




      T The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
           G at                                  G a.m.      G p.m.          on                                             .

           G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           G before 2 p.m. on                                            .

           G as notified by the United States Marshal.
           G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                       to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19)             Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     3     of        7
DEFENDANT:                     LILBEAR GEORGE a/k/a "Bear" a/k/a "Allen Santee"
CASE NUMBER:                   17cr201 "I"

                                                               SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

5 years.




                                                         MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    T  You   must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    T You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    G You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                              Judgment—Page        4        of         7
DEFENDANT:                     LILBEAR GEORGE a/k/a "Bear" a/k/a "Allen Santee"
CASE NUMBER:                   17cr201 "I"

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing
so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify
the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                                Judgment—Page     5     of       7
DEFENDANT:                  LILBEAR GEORGE a/k/a "Bear" a/k/a "Allen Santee"
CASE NUMBER:                17cr201 "I"

                                         SPECIAL CONDITIONS OF SUPERVISION

1)   The defendant shall provide complete access to financial information, including disclosure of all business and personal
     finances, to the United States Probation Officer.

2)   The defendant shall not apply for, solicit or incur any further debt, included but not limited to loans, lines of credit or credit
     card charges, either as a principal or cosigner, as an individual or through any corporate entity, without first obtaining written
     permission from the United States Probation Officer.

3)   The defendant shall participate in an approved treatment program for drug and/or alcohol abuse and abide by all supplemental
     conditions of treatment, which may include urinalysis testing. Participation may include inpatient/outpatient treatment. The
     defendant shall contribute to the cost of this program to the extent that the defendant is deemed capable by the United States
     Probation Officer. While under supervision, the defendant shall submit to random urinalysis testing, as directed by the United
     States Probation Officer.

4)   The defendant shall pay restitution that is imposed by this judgment.

5)   As directed by the probation officer the defendant shall participate in an approved cognitive behavioral therapeutic treatment
     program and abide by all supplemental conditions of treatment. The defendant shall contribute to the cost of this program
     to the extent that the defendant is deemed capable by the United States Probation Officer.

6)   The defendant shall submit his person, residence, office or vehicle to a search, conducted by a United States Probation Officer
     at a reasonable time in a reasonable manner, based upon reasonable suspicion that contraband or evidence of a violation of
     a condition of supervision may exist; failure to submit to a search may be grounds for revocation; the defendant shall warn
     any other resident(s) that the premises may be subject to searches pursuant to this condition.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                      Judgment — Page     6      of       7
 DEFENDANT:                         LILBEAR GEORGE a/k/a "Bear" a/k/a "Allen Santee"
 CASE NUMBER:                       17cr201 "I"

                                               CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
 T The Court finds that the defendant is not able to pay a fine. Accordingly, no fine shall be imposed. However, restitution is
 mandatory.

                  Assessment         Restitution                        Fine                  AVAA Assessment*             JVTA Assessment**
 TOTALS       $ 100.00             $ 277,000.00                    $    0                   $ 0                         $ 0
 T The special assessment is due immediately.

 G The determination of restitution is deferred until
      An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                Total Loss***                        Restitution Ordered                  Priority or Percentage
 Loomis Armored US                                                                             $265,000.00
 T.L.                                                                                           $12,000.00




 TOTALS                               $                                        $              $277,000.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 T     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       T the interest requirement is waived for the            G fine    T restitution.
       G the interest requirement for the           G fine      G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.

T The U.S. Bureau of Prisons, the U.S. Probation Office and the U.S. Attorney’s Office are responsible for enforcement of this
     order.
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AO 245B (Rev. 09/19)        Judgment in a Criminal Case
                                      Sheet 6 — Schedule of Payments

                                                                                                             Judgment — Page       7      of      7
 DEFENDANT:                LILBEAR GEORGE a/k/a "Bear" a/k/a "Allen Santee"
 CASE NUMBER:              17cr201 "I"

                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    G Lump sum payment of $                                  due immediately, balance due

            G     not later than                                   , or
            G     in accordance with   G    C,    G    D,     G     E, or     G F below; or
 B    G Payment to begin immediately (may be combined with                  G C,        G D, or       G F below); or
 C    G Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    T Special instructions regarding the payment of criminal monetary penalties:
            The payment of restitution shall begin while the defendant is incarcerated. Upon release, any unpaid balance shall be paid at a rate
            of $200 per month. The payment is subject to increase or decrease, depending on the defendant's ability to pay. Payments shall be
            made payable to the Clerk, United States District Court, and are to be forwarded to the following address:
            U.S. CLERK'S OFFICE
            ATTN.: FINANCIAL SECTION
            500 POYDRAS STREET, ROOM C151
            NEW ORLEANS, LOUISIANA 70130

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

      Joint and Several:
      The defendant, who is jointly and severally liable for these injuries with co-defendans, shall make restitution to the victims, except that
 T    no further payment shall be required after the sum of the amounts actually paid by all defendants has fully covered all of the
      compensable injuries. Any payment made that is not a payment in full shall be divided proportionately among the victims.

      Case Number
      Defendant and Co-Defendant Names                                                    Joint and Several                Corresponding Payee,
      (including defendant number)                        Total Amount                         Amount                          if appropriate
      17cr201 Jeremy Esteves                                     $277,000.00                         $277,000.00
      17cr201 Chukwudi Ofomata                                   $277,000.00                         $277,000.00
      17cr201 Robert Brumfield, III                              $277,000.00                         $277,000.00
      17cr201 Curtis Johnson, Jr.                                $277,000.00                         $277,000.00
      (should he be found guilty)

 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 T    Forfeiture of the defendant’s right, title, and interest in certain property is hereby ordered consistent with the plea agreement.

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
